                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                         GENENTECH, INC.,
                                   4                                                       Case No. 4:23-cv-00909-YGR
                                                        Plaintiff,
                                   5                                                       ORDER RE TRIAL SCHEDULE
                                                 v.
                                   6
                                         BIOGEN MA, INC.,
                                   7
                                                        Defendant.
                                   8

                                   9          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  10          Please be advised that the Court ORDERS the following adjustments to the pretrial

                                  11   scheduling order (Dkt. No. 91) relating to the trial schedule: jury selection shall occur on Friday,

                                  12   June 27, 2025, and opening statements and evidence shall begin on Monday, June 30, 2025.
Northern District of California
 United States District Court




                                  13          IT IS SO ORDERED.

                                  14   Dated: February 5, 2025

                                  15                                                   ______________________________________
                                                                                               YVONNE GONZALEZ ROGERS
                                  16                                                          UNITED STATES DISTRICT JUDGE
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